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                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,                    )
                                             )
                         Plaintiff,          )       CRIMINAL ACTION
                                             )
v.                                           )       No.    10-10178-04-MLB
                                             )
RODNEY DALE JONES,                           )
                                             )
                         Defendant,          )
                                             )
and                                          )
                                             )
ALANNA J. JONES,                             )
                                             )
                 Garnishee-Defendant.        )
                                             )

                              MEMORANDUM AND ORDER
         The following are before the court:
             Motion to Quash by Garnishee (Doc. 292);
             Report and Recommendation             of    U.S.     Magistrate
             Judge (Doc. 319);
             Defendant    Rodney     Jones’                Motion    for
             Reconsideration of Defendant’s                Objection to
             Garnishment (Doc. 332);
             United States’ Response (Doc. 334); and
             Defendant’s Reply (Doc. 335).
         This   matter   involves    a   writ       of   garnishment       directed   to
defendant’s former spouse, Alanna Jones (hereinafter “Garnishee”). The
dispute turns on whether at the time of garnishment defendant retained
an interest in $80,000 he previously transferred to Garnishee. The
funds were intended as pre-payment of defendant’s child support
obligations. Defendant objected to the garnishment on that basis.
         The matter was referred to U.S. Magistrate Judge Kenneth G.
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Gale, who issued a report recommending that the court overrule
defendant’s objection and enter judgment against the garnishee for
$80,000. Defendant now moves for “reconsideration,” which the court
construes as a timely objection to the Magistrate’s Report and
Recommendation.1
I Summary of Report and Recommendation
         Defendant and Garnishee were divorced in 2006. The divorce
decree obligated defendant to pay monthly child support of $1,363 for
the benefit of the couple’s minor child.
         In early 2010, defendant learned that he was under criminal
investigation relating to improper sales of athletic tickets at the
University of Kansas. Defendant and Garnishee became concerned about
defendant’s future ability to work and pay child support. As a result,
on July 12, 2010, defendant transferred to Garnishee the sum of
$70,000 by personal check. On December 9, 2010, he transferred an
additional $27,000. The money was taken out of defendant’s employment-
related    individual     retirement   account.      Defendant     and   Garnishee
considered $96,000 of this sum to be a prepayment of child support for
eight years (the anticipated length of defendant’s child support
obligation) at $1,000 per month. The remaining $1,000 was a gift from
defendant’s parents to the minor child.
         Defendant and Garnishee submitted an agreed journal entry to the
Johnson County District Court, the court with jurisdiction over their
divorce     proceeding.     The   journal      entry      cited    the       “looming
uncertainties” in defendant’s future and provided that, as of August

     1
       Under Fed. R. Civ. P. 72(b)(2), a party has 14 days to file an
objection to a Magistrate’s Report and Recommendation.

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1, 2010, the parties agreed to modify child support to payments of
$1,000 per month, with a prepaid lump sum of $70,000 to be made by
defendant and credited against his obligation. The order was entered
by a Johnson County District Court judge on December 21, 2010.
(Garnishee contends she and defendant’s attorney signed the journal
entry in August of 2010; she says it is unclear why it was not signed
by the judge until December 2010.) Total payments of $96,000 were
processed through the state court as child support by Garnishee.2
         Defendant was indicted on November 17, 2010. The indictment
included a forfeiture allegation seeking a money judgment of between
$3 million and $5 million. Defendant pled guilty and executed a plea
agreement on January 14, 2011. The agreement required him to cooperate
with the United States in the disclosure of assets and to not transfer
or dispose of assets without approval of the U.S. Attorney’s Office.
A forfeiture judgment was entered against defendant for $2 million on
February 10, 2011. (Doc. 62). Criminal judgment was entered on April
5, 2011, and was amended on May 20, 2011 (Docs. 86, 138). Restitution
was ordered in excess of $1.3 million in addition to the forfeiture
judgment. As of April 5, 2012, there was due and owing the sum of
$1,111,406.02 on the restitution judgment.
         An Assistant U.S. Attorney subsequently advised Garnishee’s
attorney that the United States believed the payments to Garnishee
were “fraudulent transfers” within the meaning of the law and were


     2
       Garnishee paid $80,000 to the Kansas Payment Center on January
12, 2011, on behalf of defendant, and received an allotment of $79,990
in return on January 14, 2011. She paid $16,000 to the Payment Center
on behalf of defendant on May 11, 2011, and received an allotment of
$15,990 on May 13, 2011. (Doc. 272 at p. 8).

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subject   to   being   voided   and   applied   to   defendant’s      restitution
obligation. Following negotiations, Garnishee determined she would
settle the matter with the United States.
      As a result, on November 14, 2011, Garnishee filed a motion
asking the Johnson County District Court to vacate its December 21,
2010 order for pre-payment of child support. The motion explained the
situation with the U.S. Attorney’s Office and its contention that the
payments were fraudulent transfers. A certificate of service stated
that the motion was served on defendant’s attorney by email. A hearing
was held on November 17, 2011, attended by Garnishee and her attorney.
The state court granted the motion, entering an order vacating the
December 21, 2010 order and reinstating defendant’s prior child
support obligation. The order included a statement that defendant did
not appear at the hearing but had been given notice of the motion and
hearing through his former counsel prior to counsel’s withdrawal from
the case. (Doc. 272-13).
      Judge Gale found from evidence presented to him “that Garnishee
attempted to serve [defendant’s] attorney, but that [defendant] did
not receive actual notice of the motion or the November 17, 2011,
hearing.” (Doc. 272 at 5).
      Once the state court vacated its December 21, 2010 order,
Garnishee notified the United States that in her opinion the funds
belonged to defendant. The United States accordingly applied for and
was issued the writ of garnishment, which was served on December 14,
2011. Garnishee answered on December 22, 2011, stating that she had




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custody or control of $80,0003 belonging to defendant.
         Defendant filed a pro se letter on January 9, 2012, objecting
to the garnishment and requesting a hearing. He stated that the funds
in question had been paid to Garnishee as child support.
         On March 5, 2012, Garnishee filed an amended motion asking the
Johnson County District Court to (again) vacate its December 21, 2010
order for pre-payment of child support. This amended motion was
prompted by defendant’s claim in the instant proceeding that he never
received notice of the November 17, 2011 Johnson County District Court
hearing.
         On March 30, 2012, the Johnson County District Court held a
hearing    on   Garnishee’s   amended     motion.    Defendant     appeared   by
telephone. This time the state court denied Garnishee’s request to
vacate the December 21, 2010 support order. The order was entered on
April 27, 2012.
         Several months later, Garnishee moved to quash the garnishment.
(Doc. 292). She argued that a failure of due process in the state
court’s November 2011 ruling rendered that ruling void. As a result,
she argued, the December 21, 2010 “pre-payment order” had never been
vacated and effectively deprived defendant of any interest in the
funds as of the time of garnishment. Garnishee filed an amended answer
to that effect, stating that she held no funds belonging to defendant.
(Doc. 289).
         Against this convoluted backdrop, Judge Gale determined that
whether defendant had an interest in the advance child support

     3
       This figure was apparently agreed upon by Garnishee and the
United States. See Doc. 272-20.

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payments at the time of garnishment “turns on whether the Order from
the November 17, 2011, hearing was void, or merely voidable, because
of [defendant’s] lack of notice.” (Doc. 319 at 9). He noted that a
void judgment has no valid force or effect, while a voidable judgment
remains valid until voided. (Doc. 319 at 9-10). Applying this rule,
he said that if the November 2011 order was void, then the December
2010 order directing pre-payment of child support remained effective
at the time of garnishment and meant defendant had no interest in the
funds to which the garnishment could attach. On the other hand, if the
November 2011 order was merely voidable, then it was effective to
vacate the December 2010 pre-payment order and meant defendant still
held an interest in the funds as of the time of garnishment. (Doc. 319
at 10).
       Judge Gale noted that under Kansas law a judgment is considered
void   if   the   court    acted   without   jurisdiction       or   in   a   manner
inconsistent with due process, with only the latter circumstance being
an issue here. (Doc. 319 at 10). Judge Gale concluded there was no
failure of due process because Garnishee’s attorney had attempted to
serve defendant’s attorney with email notice of the November 2011
motion and hearing. That service was “reasonably calculated” to
provide defendant with notice, he found, even if it was “technically
deficient” and failed to give defendant actual notice. In sum, Judge
Gale concluded the November 2011 order was not void for lack of due
process. It therefore effectively vacated the December 2010 pre-
payment ruling and left defendant with an interest in the funds that
made them subject to garnishment.
       Judge Gale separately addressed defendant’s contention that the

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funds were exempt from garnishment because they were for child
support.     He    declined      to    rule    on    the    United    States’     procedural
objection     to    this    question,         finding      instead    the     exemption      was
unavailable because “only salary, wages, or other income’ are [exempt]
from levy for child support,” and the funds in question “are not in
those categories,...” (Doc. 319 at 18, citing 26 U.S.C. § 6334(a)(8)).
Finally, Judge Gale found that the amount subject to garnishment was
$80,000.
II Defendant’s objection
         Defendant       filed   a     five-page      “Motion       for     Reconsideration”
discussing the Magistrate’s Report and Recommendation. (Doc. 211). It
essentially consisted of a recitation of the facts of the case. It
asserted that defendant’s attorney assured him that he had obtained
the prosecutor’s approval to transfer the money. Finally, it contained
a cryptic reference to the child support exemption in 18 U.S.C. §
3613, although set forth no argument about it. (Doc. 332 at 5).
         The Government’s response addressed the alleged assurances of
defense counsel and/or the prosecutor. The Government pointed out that
no    evidence     was    presented      regarding         that   issue.     It   argued     the
objection should be denied on that basis or because it was immaterial
under the law.
         Defendant’s       reply      brief    asserted      that     the    money    paid   to
Garnishee “was solely Defendant’s salary, wages, or other income
generated by Defendant” from his employment, and that prior to the
date of levy, a state court of competent jurisdiction “entered an
Order directing Defendant to contribute to the support of his minor
son,” such that the funds were exempt from garnishment by virtue of

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26 U.S.C. § 6334(a)(8) and 18 U.S.C. § 3613(a)(1). (Doc. 335 at 2-3).
III Scope of Review
      The district judge must determine de novo any part of the
magistrate judge’s disposition that has been properly objected to.
Fed. R. Civ. P. 72(b)(3). See also           28 U.S.C. § 636(b)(1) (“A judge
of the court shall make a de novo determination of those portions of
the report or specified proposed findings or recommendations to which
objection is made.”).
      De novo review requires the district court to consider relevant
evidence   of   record     and   not    merely      review     the   magistrate's
recommendation. Griego v. Padilla (In re Griego), 64 F.3d 580, 584
(10th Cir. 1995). The district court may accept, reject, or modify,
in whole or in part, the findings or recommendations made by the
magistrate judge. It may also receive further evidence or recommit the
matter to the magistrate judge with instructions. § 636(b)(1).
IV Discussion
      Liberally    construed,    defendant’s       motion     contains       only   two
specific objections to the Report and Recommendation. Cf. Miller v.
Currie, 50 F.3d 373, 380 (6th Cir. 1995) (the filing of vague,
general, or conclusory objections does not meet the requirement of
specific objections and is tantamount to a complete failure to
object).
      First, defendant claims that his lawyer (and/or the prosecutor)
assured him that he could transfer the funds to his former spouse. As
the Government points out, this objection fails initially because
defendant presented no evidence to support it. But even if defendant
had produced such evidence, his good-faith beliefs would not serve to

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exempt the funds from lawful attachment. A writ of garnishment may be
issued    against   property    in   which    the    debtor    has   a   substantial
nonexempt interest. 28 U.S.C. § 3205(a). Attachment of the writ turns
on whether or not defendant retained an interest in the funds, not on
whether defendant acted in good faith reliance on the advice of
counsel.
         Defendant’s second objection is that the funds were solely
“salary, wages, or other income” generated by his employment and were
paid for child support “due to a judgment by the state court that was
entered prior to the date of levy.” (Doc. 335 at 2-3). Under the
recommended    findings    of   Judge    Gale    –   which     defendant      has   not
specifically challenged – the December 2010 order for prepayment of
child support was effectively vacated in November 2011, before the
date of levy. This means that at the time of garnishment, defendant
was not required to pay these funds over to comply with the state
court order for child support. Where there is a judgment for child
support, section 6334(a)(8) of the Internal Revenue Code exempts from
levy the amount of salary, wages, or other income that “is necessary
to comply with such judgment.” Under the circumstances, defendant
failed to meet his burden of showing that the funds were exempt as
necessary for child support. See 26 C.F.R. §301.6334-1 (“The taxpayer
must establish the amount necessary to comply with the order or
decree.”). Because this failure alone precludes the exemption, the
court need not address the additional question of whether the funds
qualify as part of defendant’s “salary, wages, or other income....”




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V Conclusion
       The   court    adopts    the       Magistrate      Judge’s     Report   and
Recommendation (Doc. 319). Defendant’s Motion for Reconsideration
(Doc. 332) is DENIED. Garnishee’s Motion to Quash (Doc. 292) is
DENIED. The United States’ Motion to Strike (Doc. 300) is DENIED.
       Garnishee Alanna Jones is directed to forthwith pay over to the
United States the funds subject to the writ of garnishment served on
Garnishee on or about December 15, 2011 (Docs. 249, 252). Said funds
consist of $80,000 in her custody, control or possession, and in which
defendant Rodney Jones retains a substantial nonexempt interest, as
admitted in Garnishee’s original answer (Doc. 251) and as determined
by the court.
       IT IS SO ORDERED.
       Dated this 19th     day of March 2013, at Wichita, Kansas.


                                           s/Monti Belot
                                           Monti L. Belot
                                           UNITED STATES DISTRICT JUDGE




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